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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
 _________________________________________
 JUSTIN LANASA, TSR, LLC and                :
 DUNGEON HOBBY SHOP MUSEUM, LLC,            : Case No.: 1:22-cv-05686(KAM)(VMS)
                                            :
                             Plaintiffs,    :
                                            :
                      -versus-              : MOTION PURSUANT
                                            : TO LOCAL RULE 1.4
 ERIK STEINE, and LOIS STIENE, aka RACHEL :
 STEINE,                                    :
             Jointly and Severally,         :
                                            :
                              Defendants.   :
 _________________________________________ :

         PLEASE TAKE NOTICE, that upon the accompanying Declaration, Farber Schneider

 Ferrari LLP seeks an Order, before Hon. Kiyo A. Matsumoto, United States District Judge, at the

 United States Courthouse for the Eastern District of New York, located at 225 Cadman Plaza East,

 Courtroom 6C-S, Brooklyn, New York 11201, at a date and time set by the Court, if necessary, for,

 pursuant to Local Civil Rule 1.4 of the Local Rules of the United States District Courts for the

 Southern and Eastern Districts of New York (the “Local Rules”), displacing Robert B. Lower, Esq.

 as attorney of record in this case, removing his appearance from the docket, and for such other and

 further relief as this court deems just and proper.

 Dated: New York, New York
        February 29, 2024
                                                           By:__________________________
                                                                      Daniel J. Schneider
                                                           EDNY Bar: DS7366
                                                           Farber Schneider Ferrari LLP
                                                           Attorneys for Defendant(s)
                                                           261 Madison Ave, 26th Floor
                                                           New York, New York 10016
                                                           (212) 972-7040
                                                           dschneider@fsfllp.com

 To:     All Attorneys via ECF
         Client via Email



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        DECLARATION OF DANIEL J. SCHNEIDER IN SUPPORT OF MOTION
         TO DISPLACE ROBERT B. LOWER AS ATTORNEY OF RECORD FOR
            DEFENDANTS AND TO REMOVE HIM FROM THE DOCKET

         Daniel J. Schneider, pursuant to 28 U.S.C. § 1746, hereby declares under penalty of perjury

 as follows:

         1.     I am an attorney licensed to practice law before the United States District Court for

 the Eastern District of New York, am a Partner of the Firm of Farber Schneider (“FSF”) and have

 appeared as counsel to Defendants Erik Stiene and any other individual who may be deemed to be a

 defendant (“Defendant(s)”) in the above captioned matter.

         2.     Robert B. Lower (“Mr. Lower”) is an attorney licensed to practice law before this

 Court has filed a notice of appearance in this case and is presently listed as one of the attorneys of

 record for Defendant(s) in this Action.

         3.     This declaration is respectfully submitted in support of my application for an order

 for the displacement Mr. Lower as counsel of record for Defendant(s), and removing his appearance

 from the Docket, pursuant to Local Rule 1.4.

         4.     Mr. Lower’s representation in this case arose from his association with FSF, the law

 firm representing Defendant(s) in this case.

         5.     Mr. Lower has concluded his association with FSF, FSF will continue with the

 defense of Defendant(s), and since Mr. Lower’s association with FSF has concluded, he will not be

 participating in the defense of Defendant(s) going forward.

         6.     FSF has requested and/or inquired, on more than one occasion that Mr. Lower

 submit a motion to withdraw pursuant to Local Rule 1.4, but, to date, Mr. Lower has declined to do

 so.

         7.     Accordingly, it is respectfully requested that the Court grant the displacement of Mr.

 Lower, and remove his appearance from the Docket.



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          8.    I am not aware of any basis for Mr. Lower to assert a retaining or charging lien nor

 has FSF received any demand of the kind from him.

          9.    FSF has communicated with Defendant(s) and this motion has been authorized as

 Defendant(s) indicate that FSF will continue the representation in this case.

          10.   I declare under penalty of perjury that the foregoing is true and correct.

          WHEREFORE, based upon the foregoing, we respectfully request the Court grant FSF’s

 motion to displace in its entirety, with such other and further relief as the Court deems appropriate.


 Dated:         New York, New York
                February 29, 2024


                                                                Daniel J. Schneider




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